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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 24 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 25 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 26 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 27 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 28 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 30 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 31 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 130 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 131 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 133 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 134 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 135 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 137 of 235 Page ID
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Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 140 of 235 Page ID
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                                 Exhibit I
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       4   Fax: (626) 844-6550
       5
           Attorney for Plaintiff
       6   PETER ZEPPEIRO

       7                                      UNITED STATES DISTRICT COURT
       8              CENTRAL DISTRICT OF CALIFORNIA- WESTERN DIVISION
       9   PETER ZEPPEIRO                   ) Case No. 12-CV-05357 ABC (RZx)
                                            ) Hon. Audrey B. Collins
     10                     Plaintiff,      ) Crtm. 680
                                            )
                 vs.                        ) VERIFIED FIRST AMENDED
     11
                                            ) COMPLAINT FOR:
     12    GMAC MORTGAGE, LLC;              )
           HOMECOMINGS FINANCIAL LLC. f/k/a ) 1.     QUIET TITLE
     13    HOMECOMINGS FINANCIAL            ) 2.     BREACH OF CONTRACT
           NETWORK, INC.; EXECUTIVE         ) 3.     LACK OF STANDING
     14                                     )
           TRUSTEE SERVICES, LLC; FEDERAL   ) 4.     VIOLATION OF 15 U.S.C. §1641(g) -
     1?    NATIONAL MORTGAGE ASSOCIATION )           TRUTH IN LENDING ACT (TILA)
           akaFANNIEMAEasTRUSTEEFOR         ) 5.     CANCELLATION OF WRITTEN
     16    FIXEDTOFLOATINGRATENON-          )        INSTRUMENT [CA CIVIL CODE
     17
           CUMULATIVE PREFERRED STOCK       )        §3412];
           SERIES 1; MORTGAGE ELECTRONIC    ) 6.     VIOLATION OF BUSINESS &
     1a    REGISTRATION SYSTEMS, INC., aka  ~        PROFESSIONS CODE §17200 ET
           MERS; DOES 1 THROUGH 10,         )        SEQ AND CALIFORNIA PENAL
     19
           INCLUSIVE                        )        CODE §§115.5 & 532(f)(a)(4);
      20                                    )
                             Defendants.    )
      21                                    )        DEMAND FOR JURY TRIAL
                                            )
      22                                    )
                                            )
      23                                    )
      24   ____________________________ )   )

      25
                  COMES NOW Peter Zeppeiro (hereinafter "Plaintiff') complaining of the Defendants,
      26
           and each of them, as follows:
      27

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                                                             1
                                              VERIFIED FIRST AMENDED COMPLAINT
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      1
          establish that the mortgages that secure the indebtedness, or Note, were legally or properly
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          acquired.
      3
              7. Plaintiff alleges that an actual controversy has arisen and now exists between Plaintiff
      4
          and Defendants, and each of them. Plaintiff desires a judicial determination and declaration of
      5
          his rights with regard to the Home and the corresponding Promissory Note and Deed of Trust.
      6
              8. Plaintiff also seeks redress from Defendants identified herein below for damages, for
      7

          other injunctive relief, and for cancellation of written instruments based upon:
      8
                      a. The alteration and revision of the Deed of Trust and Grant Deeds without the
      9

     10                  knowledge and/or consent of Plaintiff or the Notary;

     11               b. An invalid and unperfected security interest in the Home hereinafter described;

     12               c. An incomplete and ineffectual perfection of a security inter~st in the Home;

     13               d. Violations of California Business and Professions Code § 17200 (Unfair

     14                  Business Practices) and California Penal Code §115.5; and
     15               e. A void or voidable Deed of Trust due to improper securitization, for which there
     16                  is a reasonable apprehension that, if left outstanding, may cause a serious injury.
     17                                            THE PARTIES
     18
              9. Plaintiff is now, and at all times relevant to this action, a resident of the County of
     19
          Ventura, State of California. Plaintiff is the borrower and obligor under the Note and Deed of
     20
          Trust that are the subject of this action. Plaintiff currently resides in the Home and has lived
     21
          there at all times since 1994.
     22
              10. Defendant, GMAC MORTGAGE, LLC ("GMAC"), Plaintiff is informed and believes,
     23
          and thereon alleges, is a Delaware Limited Liability Company, doing business in the County of
     24
          Ventura, State of California, whose last known address is 1100 Virginia Drive, Fort
     25
          Washington, PA 19034. Plaintiff is further informed and believes, and thereon alleges, that
     26
          GMAC is the present purported Master Servicer of the mortgage herein and/or is a purported
     27

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                                      VERIFIED FIRST AMENDED COMPLAINT
Case 2:18-cv-04183-SJO-AGR Document 22-2 Filed 07/16/18 Page 150 of 235 Page ID
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          participant in the imperfect securitization of the Note and/or the Deed of Trust dated October
      2
          11, 2002, herein (Exhibit "A"), as more particularly described in this Complaint.
      3
              11 . Defendant HOMECOMINGS FINANCIAL, LLC. (hereinafter "HOMECOMINGS
      4
          FINANCIAL"), formerly known as Homecomings Financial Network, Inc., Plaintiff is
      5
          informed and believes, and thereon alleges is a Delaware Limited Liability Company, doing
      6
          business in the County of Ventura, State of California, whose last known address is 8400
      7
          Normandale Lake Blvd., Ste 350, Bloomington, MN 55437, and is the original lender of the
      8

      9
          Note.

     10       12. Defendant, EXECUTIVE TRUSTEE SERVICES, LLC (hereinafter "ETS"), Plaintiff is

     11   informed and believes, and thereon alleges, is a Delaware Limited Liability Company, doing

     12   business in the County of Ventura, State of California, whose last known address is 2255 North

     13   Ontario Street, Suite 400, Burbank, CA 91504 and is the purported Foreclosure Trustee of the

     14   mortgage herein and/or a purported participant in the imperfect securitization of the Note
     15   andl<?r the Deed of Trust dated October 11, 2002, herein, as more particularly described in this
     16   Complaint.
     17
             13. Defendant, FEDERAL NATIONAL MORTGAGE ASSOCIATION aka Fannie Mae
     18
          ("FANNIE MAE") as Trustee for Fixed to Floating Rate Non-Cumulative Preferred Stock
     19
          Series 1 ("Series 1"), Plaintiff is informed and believes, and thereon alleges, is a national
     20
          banking association, doing business in the County ofVentura, State of California, whose last
     21
          known address of its corporate headquarters at 3900 Wisconsin Avenue, N.W. Washington,
     22
          D.C. 20016 and is the purported Trustee for the Trust and/or a purported participant in the
     23
          imperfect securitization of the Note and/or the Deed of Trust dated October 11, 2002, herein, as
     24
          more particularly described in this Complaint.
     25
             14. Defendant, MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, Inc. aka
     26
          MERS (hereinafter "MERS"), Plaintiff is informed and believe, and thereon alleges, is a
     27
          corporation duly organized and existing under the laws of Delaware, whose last known address
     28



                                                           4
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      1
          is 1818 Library Street, Suite 300, Reston, Virginia 20190; website: http://www.mersinc.org.
      2
          MERS is doing business in the County of Ventura, State of California. Plaintiff is further
      3
          informed and believes, and thereon alleges, that Defendant MERS is the purported Beneficiary
      4
          under the Deed of Trust herein dated October 11, 2002, and/or is a purported participant in the
      5
          imperfect securitization of the Note and/or the Deed of Trust, as more particularly described in
      6
          this Complaint.
      7
              15. The Home commonly, known as 6393 Calle Bodega, Camarillo, County of Ventura,
      8

      9
          California 93012 (the "Property" or "Home"), is further described as Assessor's Parcel Number

     10   169-0-263-245. The legal description of the Home is:

     11       Parcell:
                 "LOT 1038 OF TRACT NO. 2381-7, IN THE CITY OF CAMARILLO,
     12          COUNTY OF VENTURA, STATE OF CALIFORNIA, AS PER MAP
     13
                 RECORDED IN BOOK 75, PAGES 86 TO 91 INCLUSIVE, OF MAPS, IN
                 THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, SHOWN
     14          IN LOT 1038-A ON THAT CERTAIN LOT LINE ADUSTMENT
                 RECORDED NOVEMBER 30, 1978 AS FILE NO. 131993, IN BOOK 5271 ,
     15          PAGE 941 TO 947, INCLUSIVE OF OFFICIAL RECORDS."
     16
              Parcel 2:
     17          "LOT 36 AND 65 OF THE RANCHO CALLEGUAS, IN THE CITY OF
                 CAMARILLO, COUNTY OF VENTURA, STATE OF CALIFORNIA,
     18
                 SHOWN ON THE MAP RECORDED IN BOOK 17, PAGE 16 OF
     19          MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY
                 RECORDER OF SAID COUNTY ... "
     20

     21       16. Plaintiff does not know the true names, capacities, or basis for liability of Defendants
     22   sued herein as DOES 1 through 10, inclusive, as each fictitiously named Defendant is in some
     23   manner liable to the Plaintiff, or claims some right, title, or interest in the Home. Plaintiff will
     24   amend this Complaint to allege their true names and capacities when ascertained. Plaintiff is
     25
          informed and believes, and therefore alleges, that at all relevant times mentioned in this
     26
          Complaint, each of the fictitiously named Defendants are responsible in some manner for the
     27

     28



                                                            5
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      1
          injuries and damages to Plaintiff so alleged and that such injuries and damages were
      2
          proximately caused by such Defendants, and each of them.
      3
              17. Plaintiff is informed and believes, and thereon alleges, that at all times herein
      4
          mentioned, each of the Defendants were the agents, employees, servants and/or the joint-
      5
          venturers of the remaining Defendants, and each of them, and in doing the things alleged
      6
          herein below, were acting within the course and scope of such agency, employment and/or
      7
          joint venture.
      8
                                                   DOCUMENTS
      9
              18. The documents pertinent to this case which have been recorded in the public record for
     10

     11   the Home are as follows:

     12          a.       A Grant Deed recorded on March 16, 1995 in the Ventura County Recorder's
                      office as Instrument No. 95-030685 conveying title to Jovita Zeppeiro. A true and
     13
                      correct copy thereof is attached hereto, marked Exhibit "A" and is incorporated
     14               herein by reference;

     15          b.       An Unaltered Grant Deed notarized on September 6, 2002 conveying title from
                      Jovita Zeppeiro to Peter Zeppeiro. A true and correct copy thereof is attached
     16
                      hereto, marked Exhibit "B" and is incorporated herein by reference;
     17

     18          c.       A Grant Deed notarized on September 6, 2002 and recorded on November 12,
                      2002 in the Ventura County Recorder's office as Instrument No. 2002-0280567,
     19               which appears to convey title from Jovita Zeppeiro to "Jovita Zeppeiro and Peter
                      Zeppeiro wife and husband as Joint Tenants." A true and correct copy thereof is
     20
                      attached hereto, marked Exhibit "C" and is incorporated herein by reference;
     21

     22          d.       A Grant Deed dated October 15, 2002 and recorded on October 24, 2002 which
                      appears to convey title from "Jovita Zeppeiro and Peter Zeppeiro, wife and husband
     23               as Joint Tenants" to Peter Zeppeiro, a married man as his sole and separate property.
                      A true and correct copy thereof is attached hereto, marked Exhibit "D" and is
     24
                      incorporated herein by reference;
     25

     26          e.       A Balloon Note dated October )1 , 2002 in the amount of $300,700.00,
                      referencing the Lender Homecomings Financial Network, Inc., and Amendment to
     27               Escrow Instructions from American Title Company. A true and correct copy
     28
                      thereof is attached hereto, marked Exhibit "E" and is incorporated herein by
                      reference;

                                                           6
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      1            f.       A Deed of Trust dated October 11, 2002, recorded on October 24, 2002, in the
                        Ventura County Recorder's office as Instrument No. 2002-0260124-00, referencing
      _2
                        loan amount of $300,700.00. A true and correct copy thereof is attached hereto,
      3                 marked Exhibit "F" and is incorporated herein by reference;

      4            g.      A Quitclaim Deed recorded on October 30, 2002 in the Ventura County
                        Recorder's office as Instrument No. 2002-0266608 in which Plaintiff conveys title
      5
                        to Mary and Douglas Zeppeiro. A true and correct copy thereof is attached hereto,
       6                marked Exhibit "G" and is incorporated herein by reference;

      7
                   h.       A Notice of Default and Election to Sell Under Deed of Trust ("Notice of
      8                 Default") recorded on April 28, 2010 in the Ventura County Recorder's Office as
                        Instrument No. 20100428-00063990-0, referencing ETS Services, LLC ("ETS") as
      9
                        Trustee on behalf of the beneficiary, MERS. A true and correct copy thereof is
     10                 attached hereto, marked Exhibit "H" and is incorporated herein by reference;

     11
                   i.       A Substitution of Trustee dated Apri126, 2010 and recorded on April 28, 2010,
     12                 in the Ventura County Recorder's Office as Instrument No. 20100428-00063989-0.
                        This document purports to substitute ETS as Trustee under said Deed of Trust. A
     13
                        true and correct copy thereof is attached hereto, marked Exhibit "I" and is
     14                 incorporated herein by reference;

     15
                   J.       A Notice of Trustee's Sale recorded on July 30, 2010, in the Ventura County
     16                 Recorder's Office as Instrument No. 20100730-00111696-0, indicating that a
     i7                 Trustee Sale will take place on August 26, 2010. The Document is signed by a
                        purported representative of ETS and identifies ETS as a "debt collector." A true and
     18 .               correct copy thereof is attached hereto, marked Exhibit "J" and is incorporated
                        herein by reference;
     19

     20            k.       A Quitclaim Deed recorded on May 18, 2012 in the Ventura County Recorder's
     21
                        Office as Instrument No. 20120518-00090514-0 in which Mary and Douglas
                        Zeppeiro convey 1/3 interest to Peter Zeppeiro. A true and correct copy thereof is
     22                 attached hereto, marked Exhibit "K" and is incorporated herein by reference.
     23                                     FACTUAL ALLEGATIONS
     24        19. On or about March 16, 1995, the Property was vested in Jovita Zeppeiro's ("Jovita")
     25     name as a "married woman as her sole and separate property." A true and correct copy thereof
     26     is attached hereto, marked Exhibit "A".
     27
               20. On or about September ~. 2002, incident to a loan transaction, Defendants were to
     28
            deliver to escrow a Grant Deed in which Jovita, "a married woman as her sole and separate

                                                           7
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      1
          property" was to convey title to Peter Zeppeiro as "a married man as his sole and separate
      2
          property." Jovita executed this Grant Deed before a notary on September 6, 2002 at Kinko's in
      3
          Camarillo, California. (hereinafter, "Grant Deed 1"). After Grant Deed 1 was notarized, it was
      4
          sent via FedEx to escrow. A true and correct copy thereofis attached hereto, marked Exhibit
      5
          "B".
      6
             21. Subsequently, following the notarization of Grant Deed 1 on September 6, 2002,
      7
          Plaintiff was advised HOMECOMINGS FINANCIAL and its agents that Grant Deed 1, which
      8
          had already been signed and notarized, had to be revised and that the September 6, 2002 Grant
      9

     10
          Deed would be returned to Plaintiff unrecorded. Plaintiff was told that Defendant

     11   HOMECOMINGS FINANCIAL would send out their own notary to the Plaintiffs residence

     12   on October 15, 2002 to obtain new signatures for the documents.

     13      22. On or about October 15, 2002, Defendants drafted a replacement Grant Deed that had

     14   vesting listed as "Jovita Zeppeiro and Peter Zeppeiro, wife and husband as Joint Tenants" to
     15   "Peter Zeppeiro, a married man as his sole and separate property." (hereinafter, "Grant Deed
     16   2"). A true and correct copy thereof is attached hereto, marked Exhibit "D." Title was never
     17   vested in this manner as "joint tenants" but was rather held solely in the name of Jovita.
     18
             23. On or about October 14, 2002, Plaintiff was advised via phone by agents of
     19
          HOMECOMINGS FINANCIAL to sign a Trust Deed and the newly revised Grant Deed. True
     20
          and correct copies are attached hereto, marked Exhibit "D" and Exhibit "F". The Trust Deed
     21
          was dated October 11,2002 and did not include a legal description for the Property. The Trust
     22
          Deed was notarized on October 15,2002.
     23
             24. At some point after signing the Trust Deed and delivering it to the escrow company,
     24
          Defendants altered the Trust Deed by adding a legal description to the document. Not only did
     25
          Defendants add a legal description to the document; they added the wrong legal description by
     26
          using the neighbor's lot number instead. This alteration to the Trust Deed was done without the
     27

     28
          knowledge or consent of the Plaintiff and before delivery to the Plaintiff.


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      1
              25. Subsequently, the revised Grarit Deed (Grant Deed 2) was delivered to escrow. This
      2
          second and revised Grant Deed was also altered to reflect that the dates of notarization took
      3
          place on October 11, 2002, when in fact, the notarization took place on October 15, 2002. This
      4
          was intentionally altered and backdated to match the pre-dated Trust Deed, which reflected the
      5
          date of October 11, 2002. In·addition to the date being altered, the notary's initials were forged
      6
          as well, which allegedly and falsely confirmed that the changes were being made by the
      7

          Notary. The Grant Deed was altered without the knowledge or consent of the Plaintiff or the
      8
          Notary. This is confirmed by the Notary's sworn statement. A true and correct copy of the
      9

     10
          Notary's sworn statement is attached hereto, marked Exhibits "L" and "M".

     11      26. As per sworn statements by the Notary, Benita A. Colitti, Commission Number

     12   1318973, Ms. Colitti at no time, changed, authorized, or had knowledge of the changes made

     13   to the Deed. In addition, per her Notary log, the signatories were not present on 11th of

     14   October; instead, they were present-before her on the 151h of October. Also, Ms. Colitti
     15   confirms that she did not place her initials on the document confirming that changes were
     16   made. She further states that she does not enter dates on documents in numeric format; nor
     17   does s~e ever notarize post dated or ante dated documents. ·
     18
             27. Moreover, at some point after the close of escrow and after the recording of the October
     19
          15,2002 altered document on October 24,2002 and before the September 6, 2002 Grant Deed
     20
          was recorded on November 12,2002, the original September 6, 2002 Grant Deed was altered
     21
          by typing "xxxxxx" across the original vesting listed the Grantee as "Peter Zeppeiro, a Man·ied
     22
          Man as His Sole and Separate Property." The vesting was changed to "Jovita Zeppeiro and
     23
          Peter Zeppeiro, wife and husband as Joint Tenants." The Grant Deed was altered without the
     24
          knowledge or consent of the Plaintiff and was recorded contrary to the direct wishes of the
     25
          parties. It was previously agreed by all parties that this Grant Deed would be returned to
     26
          Plaintiff and replaced in escrow by the October 15, 2002 Grant Deed.
     27

     28



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       1
               28. On or about November 12, 2002, three weeks after the close of escrow, the altered
       2
           version of the September 6, 2002 Grant Deed was recorded under Title Number 02211839 and
       3
           Escrow Number 75709-MCW. (Exhibit "C").

               29. All three documents, mentioned above, bear the same Title Number of02211839 and
      5
           Escrow Number of75709-MCW, thereby confirming that all three of these forged and altered
      6
           documents are part of one single transaction.
      7

               30. The Deed of Trust in this case gives the appearance of being a certified copy of the
      8

      9
           original recorded Deed. However, the purported certification of the Deed is defective; it states

     10    only "I hereby certify that this is a true and exact copy of the Original."

     11        31. In addition, the original lender for this loan was HOMECOMINGS FINANCIAL,

     12    as evidenced by the attached Deed of Trust (Exhibit "F"). The original Trustee under the

     13    Deed of Trust was AMERICAN TITLE. The original beneficiary and nominee under the Deed

     14    of Trust was MERS.
     15        32. Plaintiff, relying on the Grant Deed and Deed of Trust that he signed and believed
     16    to be valid, Plaintiff executed a Quitclaim Deed to Mary and Douglas Zeppeiro, which
     17
           was recorded on October 30, 2002. A true and correct copy of the Quitclaim Deed is attached
     18
           hereto, marked Exhibits "G".
     19
              33.·On May 17, 2012, Mary and Douglas Zeppeiro executed a Quitclaim Deed, reverting
     20
           113 interest in the Home back to Plaintiff. A true and correct copy of this Quitclaim Deed is
     21
           attached hereto, marked Exhibits "K".
     22
                           FACTUAL ALLEGATIONS REGARDING THE TRUST
     23
              34.     Plaintiff, a homeowner, disputes the title and ownership of the real property in
     24
           question ("the Home"), which is the subject of this action, in that the originating mortgage
     25
           lender, and others alleged to have ownership, have unlawfully sold, assigned and/or transferred
     26
           their ownership and security interest in a Promissory Note (the "Note") and Deed of Trust (the
     27

     28



                                                            10
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      1
          "Deed" or "DOT") related to the Home, and, thus, do not have lawful ownership or a security
      2
          interest in the Home as further described herein below.
      3
              3 5. Plaintiff further alleges that Defendants, and each of them, cannot show proper receipt,
      4
          possession, transfer, negotiations, assignment and ownership of the borrower's original Note
      5
          and the Deed, resulting in imperfect security interests and claims.
      6
              36. Plaintiff alleges that an actual controversy has arisen and now exists between Plaintiff
      7
          and Defendants, and each of them. Plaintiff desires a judicial determination and declaration of
      8
                 .                                                                 .
      9
          his rights with regard to the Home and the corresponding Note and Deed.

     10       37. Plaintiff is informed and believes, and thereon alleges, that this loan was securitized,

     11   with the Note not being properly transferred to Defendant, FANNIE MAE, acting as the

     12   Trustee for the Securitized Trust.

     13       38. Plaintiff alleges that Defendant FANNIE MAE violated 15 U.S.C. § 1641(g).

     14      39. Plaintiff alleges that ifGMAC Mortgage claims to be a creditor, and not just a servicer
     15   of the loan, then GMAC also violated 15 U.S.C. § 1641(g).
     16      40. Plaintiffs information and belief is based on (1) a securitization analysis report and
     17
          review of the Home's county records; (2) direct written and oral communication with
     18
          Defendants; (3) his counsel's research, experience, and extensive review of case law,
     19
          correspondence, news articles, and publicly available securitization documents and practices;
     20
          and (4) FANNIE MAE's filings with the SEC including FANNIE MAE's 8K and Offering
     21
          Circular.
     22
             41. Plaintiff is informed and believes that after the origination and funding of the Loan,
     23
          HOMECOMINGS FINANCIAL transferred Plaintiffs Note to FANNIE MAE. The Note was
     24
          then sold to an investment trust and became part qf, or was subject to a Pooling and Servicing
     25
          Agreement, a Collateralized Debt Obligation, a Mortgage-Backed Security, a Mortgage Pass-
     26
          Through Certificate, a Credit Default Swap, the Real Estate Mortgage Investment Conduit
     27

     28
          ("REMIC") rules, and an Investment Trust, specifically the SERIES 1 TRUST. Although the


                                                          11
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      1
          transaction occurred, the transfer of interest failed to comply with the terms of the Pooling and
      2
          Servicing Agreement ("PSA"), the governing document of the Trust, creating the instant
      3
          situation where the security is not actually backed by any mortgages at all.
      4
              42. An essential aspect of the mortgage securitization process is that the Trust must obtain
      5
          good title to the loans comprising the pool for that certificate offering. This is a prerequisite for
      6
          the Trustee of the Securitized Trust in order to legally enforce the mortgage loans in case of
      7
          default. As part of the process, the promissory note and the deed of trust must be validly
      8

      9
          transferred to the Trust. In this case, the original lender failed to record a transfer of the

     10   benefiCial interest to FANNIE MAE, as Trustee for the SERIES 1 TRUST, on or before the

     11   "closing date". The "closing date" is the date by which all of the Notes and Mortgages must be

     12   transferred into the Trust. The failure to do so results in the Note and Mortgages not being part

     13   of the TRUST Res.

     14      43. Since FANNIE MAE's security offerings are exempted from SEC registration
     15   requirements, the "closing date" is unknown to Plaintiff and the date upon which FANNIE
     16   MAE acquired an interest can only be determined through discovery.
     17
             44. Plaintiff further alleges that even if the Deed of Trust had been transferred into the

          Trust by the closing date, the transaction is still void, as the Note would not have been
     19
          transferred according to the requirements of the PSA, since the PSA requires a complete and
     20
          unbroken chain of transfers and assignments to and from each intervening party.
     21
             45 ..Plaintifffurther alleges that no documents or records can be produced that demonstrate
     22
          that prior to the closing date for SERIES 1, the Note was duly endorsed, transferred and
     23
          delivered to SERIES 1, including all intervening transfers. Nor can any documents or records

          be produced that demonstrate that prior to the closing date, the Deed of Trust was duly
     25
          assigned, transferred and delivered to SERIES 1, including all intervening assignments.
     26

     27

     28



                                                            12
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      1
              46. Plaintiff further alleges that any documents that purport to transfer any interest in the
      2
          NOTE to SERIES 1 after the Trust closing date are void as a matter oflaw, pursuant to New
      3
          York trust law and relevant portions of the PSA.
      4
              4 7. Plaintiff is further informed and believe~, and thereon alleges, that the purported
      5
          assignments and transfers of the debt or obligation did not comply with New York law, and/or
      6
          other laws and statutes, and, thus, do not constitute valid and enforceable "True Sales." Any
      7
          security interest in the Home was, thus, never perfected. The alleged holder of the Note is not
      8

      9
          the beneficiary of the Deed of Trust. The alleged beneficiary of the Deed of Trust does not

     10   have the requisite title, perfected security interest or standing to proceed; and/or is not the real

     11   party i~?- interest with regard to any action taken or to be taken against the Home.

     12       48. Plaintiff is also informed and believes, and thereon alleges, that at all times herein

     13   mentioned, any assignment of a Deed of Trust without proper transfer of the obligation that it

     14   sec!Jres is a legal nullity.
     15       49. Plaintiff also alleges that as of the date of the filing of this Complaint, the Deed of Trust
     16   had not been legally assigned to any other party or entity.
     17
              50. The only known Assignment is from MERS to GMAC Mortgage, recorded nearly ten
     18
          (1 0) years·after the origination of the loan. Upon information and belief, MERS did not have
     19
          any rights to assign in 2012 after the loan was securitized and sold off to investors of the
     20
          FANNIE MAE Trust. As a result, GMAC's efforts to foreclose on the Home are without right.
     21
          Upon information and belief, GMAC has only servicing rights, if any, and is merely a third-
     22
          party stranger to the loan transaction, falsely claiming to be the lawful creditor.
     23
              51. Plaintiff is informed and believes and thereon alleges that GMAC was acting as the
     24
          Beneficiary of the DOT in 2012. It could not have been the Beneficiary because the loan was
     25
          sol~   to FANNIE MAE. GMAC purported to act as the beneficiary and creditor and failed to
     26
          disclose the true owner of the loan. Plaintiff relied on GMAC's representations and had no
     27

     28



                                                           13
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      1
          reason to believe that FANNIE MAE owned his loan as there is no record of an assignment to
      2
          FANNIE MAE.


      4
          author.ity under its corporate charter to foreclose on a mortgage, or to own or transfer an
      5
          interest in a securitized mortgage because MERS ' ·charter limits MERS' powers and duties to
      6
          functioning as an electronic registration system of certain types of securities. MERS could not
      7
          be both the nominee and the Beneficiary under the DOT.
      8
              53. As set forth hereinabove, Defendants, and each of them, violated the express terms of
      9

     10
          the PSA which is a Trust Agreement and which, ·along with another document, the Mortgage

     11   Loan Purchase Agreement, is the operative securitization document created by the finance and

     12   securitization industry to memorialize a particular securitization transaction. The PSA

     13   specifies the rights and obligations of each party to the securitization transaction to each other,

     14   and is a public document on file with the SEC. More specifically, the PSA requires strict
     15   compliance with its procedures and timelines in order for the parties to achieve their specific
     16   objectives.
     17
              54. Plaintiff is further informed and believes, and thereon alleges, that as a result of the
     18
          PSA and other documents signed under oath in relation thereto, the Mortgage Originator,
     19
          sponsor and Depositor' are estopped from claiming any interest in the Note that is allegedly
     20
          secured by the Deed of Trust on the Home herein.
     21
              ·55. Plaintiff is informed and believe, and thereon alleges, that the Note in this case and the·
     22
          other mortgage loans identified in the PSA, were never actually transferred and delivered by
     23
          the Mortgage Originator to the Sponsor or to the Depositor nor from the Depositor to the
     24
          Trustee for the Securitized Trust. Plaintiff further alleges, on information and belief, that the ·
     25

     26

     27
          1
            Th~ Originator is the lender who originally funded the loan; the Sponsor "collects" or " buys" the loans from
          different lenders, combines them, and then "sells" them to the Depositor; the Depositor "deposits" the loans into
     28   the Issuing Entity Trusts, and then, various bonds and certificates are sold; the Issuing Entity would be the "legal
          owner'' of the Notes, though the actual documents would be held by Custodians.

                                                                  14
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      1
          PSA ~erein provides that the Mortgage Files of the Mortgages were to be delivered to SERIES
      2
          1, which Mortgage Files include the original Deeds of Trust, herein.
      3
              56. Based upon the foregoing, Plaintiff is further informed and believes, and thereon
      4
          alleges, that the following deficiencies exist, in the "True Sale" and securitization process as to
      5
          this Deed of Trust which renders invalid any security interest in the Plaintiffs mortgage,
      6
          including, but not limited to:
      7
                  a.       The splitting or separation of title, ownership and interest in Plaintiffs Note and
      8

      9
                       Deed of Trust of which the original lender owner and beneficiary of the Deed of

     10                Trust;

     11           b.       When the loan was sold to each intervening entity, there were no Assignments

     12                of the Deed of Trust to or from any intervening entity at the time of the sale.

     13                Therefore, "True Sales" could not and did not occur;

     14           c.      The failure to assign and transfer the beneficial interest in the Deed of Trust to
     15                FANNIE MAE in accordance with the PSA of the Defendants, as Securitization
     16                Participants;
     17
                  d.      The failure to endorse, assign and transfer the Note and/or mortgage to
     18
                       Defendant, Fannie Mae as Trustee for SERIES 1, in accordance with the PSA;
     19
                  e.      No Assignments of Beneficiary or Endorsements of the Note to each ofthe
     20
                       intervening entities in the transaction ever occurred, which is conclusive proof tha~
     21
                       no true sales occurred as required under the PSA filed with the SEC; and
     22
                 f.       Defendants, and each of them, violated the pertinent terms of the PSA.
     23
              57. Plaintiff is informed and believe, and thereon alleges, that this unlawful, improper and
     24
          oppressive method of attempting to securitize the Note and SERIES 1 has caused-the value of
     25
          the Home to significantly decrease and has, in effect, caused Plaintiff to lose either all of or a
     26
          substantial part of the equity he would have created in the Home after making payments for
     27

          many years (see discussion herein below).
     28



                                                            15
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      1
              58. Plaintiff, therefore, alleges, upon information and belief, that none of the parties to the .
      2
          securitization transaction, nor any of the Defendants in this case, hold a perfected and secured
      3
          claim in' the Home; and that all Defendants are estopped and precluded from asserting an
      4
          unsecured claim against the property.
      5
              59. In a~dition to seeking compensatory, consequential, punitive, and other damages,
      6
          Plaintiff seek an Order enjoining the Defendants from carrying out a foreclosure sale of the
      7
          Home and Declaratory Relief as to whether the DOT secured any obligation of Plaintiff such
      8
          that GMAC or ETS can foreclose or whether GMAC may collect Plaintiffs mortgage
      9

     10   payments.

     11       60. Plaintiff alleges that Defendants, and each of them, engaged in violations of California

     12   and federal law, including, ·but not limited to, 15 U.S.C. § 164i(g) and sections of the

     13   Commercial Code, as described herein.
     14       61. Plaintiff alleges that Defendants are attempting to take advantage of the complex
     15   structured financial system to defraud yet another homeowner, commit fraud on the Court, and
     16   mislead Plaintiff into believing that Defendants are entitled to foreclose on his Home.
     17       62. Plaintiff is informed and believes and thereon alleges that the Trust issued the
     18
          investment bonds in the II?-Ortgage-backed Trust identified herein. Plaintiff further alleges that
     19
          in order for the Defendants to have had a valid and enforceable security in~erest against the
     20
          Property,.the Defendants must prove that they received an endorsement of the Note. Absent
     21
          such proof, Plaintiff alleges that neither MERS nor GMAC had standing to declare default and
     22
          initiate foreclose on the Home. Moreover, under the rules goveming securitization transact~ons,
     23
          any assignments of the Deed of Trust beyond the specified closing date for the Trust are void.
     24
             63. Plaintiff is informed and believes and thereon alleges that the Note in this case was
     25
          never actually transferred and delivered by HOMECOMINGS FINANCIAL to the Depositor
     26
          and by the Depositor to the Custodian on behalf of the Trustee for the Trust pursuant to the
     27
          requirements of the PSA. Moreover, Plaintiffs Loan that was allegedly transferred to the Trust
     28



                                                           16
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      1
           pursuant to the PSA was not listed in any of the documents filed by the Trust and available to
      2
          · the public at www.edgar.gov. Accordingly, Plaintiff alleges that the Note in this case was never ·
      3
           lawfully negotiated and endorsed to the Trust.
      4
                 64. Based upon information and belief, there are no valid Assignments to FANNIE MAE. ·
      5
           Any documents that purport to transfer any interest in the Note to the SERIES 1 TRUST after
      6
           the Closing Date are void as a matter of law.
      7
                 65. The recorded "Assignment" is a fraudulent lien claim, and the execution, filing and
      8
           recordation of the document was created for the purpose of facilitating and aiding and abetting
      9

     10
           the illegal, deceptive and unlawful foreclosure and collection of Plaintiffs mortgage paymentS.

     11          66. Plaintiff further alleges that any amount allegedly owed under the Note is subject to

     12    ~quitable   offset by the damages owed to Plaintiff from Defendants.

     13          67. Plaintiff is further informed and believes that generally, if the Deed of Trust and the

     14   Note are not together with the same entity, there can be no enforcement of the Note. The Deed

     15    of Trust enforces the Note, and provides the capability for the lender to foreclose on the
     16   property. Thus, if the Deed of Trust and the Note are separated on foreclosure cannot occur; the
     17   Note cannot be enforced by the Deed of Trust if each contains a different
     18
           mortgagee/beneficiary; and, if the Deed of Trust is not itself a legally enforceable instrument,
     19
          there can be no valid foreclosure on the homeowners' property.
     20
                 68. The gravamen of Plaintiffs complaint is that Defendants are attempting to foreclose
     21
           without any legal authority or standing to do so, and in violation of State and Federal laws
     22
           which were specifically enacted to protect consumers such as Plaintiff from the type of abusive,
     23
           deceptive, and unfair conduct in which Defendants engaged, which are detailed herein, by
     24
           failing to follow the procedures prescribed by such laws to foreclose property. Defendants'
     25
           unlawful conduct caused Plaintiffs damages in an amount to be proven at trial.
     26
           Ill
     27

     28
           Ill


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        1                                      FIRST CAUSE OF ACTION:
                                                     QUIET TITLE
        2
                                             (AGAINST ALL DEFENDANTS)
        3            Plaintiff is the legal owner of 113 interest in the real property that is commonly known as
            69.
        4
            6393 Calle Bodega, Camarillo, County of Ventura, California 93012 [APN 169-0-263-245] and
        5
            further described as:
        6
            Parcell:
        7         "LOT 1038 OF TRACT NO. 2381-7, IN THE CITY OF CAMARILLO,                                         /   .
                  COUNTY OF VENTURA, STATE OF CALIFORNIA, AS PER MAP
        8
                  RECORDED IN BOOK 75, PAGES 86 TO 91 INCLUSIVE, OF MAPS, IN
        9         THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, SHOWN
                  IN LOT 1038-A ON THAT CERTAIN LOT LINE ADUSTMENT
      10          RECORDED NOVEMBER 30, 1978 AS FILE NO. 131993, IN BOOK 5271,
                  PAGE 941 TO 947, INCLUSIVE OF OFFICIAL RECORDS."
      11

      12    Parcel2:

      13              "LOT 36 AND 65 OF THE RANCHO CALLEGUAS, IN THE CITY OF
                      CAMARILLO, COUNTY OF VENTURA, STATE OF CALIFORNIA,
      14
                      SHOWN ON THE MAP RECORDED IN BOOK 17, PAGE 16 OF
      15              MISCELLANEOUS RECORDS, IN THE OFFICE OF THE COUNTY
                      RECORDER OF SAID COUNTY ... "
      16
                  70. Defendants, and each of them, claim some right, title, estate, lien or interest in or to the
      17
            subject Property adverse to Plaintiff's respective interests therein, and said claim or claims
      18
            constitute a cloud on Plaintiffs title thereto.
      19
                  71. Plaintiff seeks to quiet title against the claims of Defendants, and anyone else claiming
      20

      21
            interest in the property.

     . 22         72. Defendants and any successors or assignees have no right to title or interest in the

      23    property and no right to entertain any rights of ownership including rights of possession.

      24          73. Plaintiff seeks a judicial declaration that the title to the Subject Property is vested in

      25    Plaintiff and that Defendants and each of them be declared to have no lien, estate, right, title or

      26    interest in the Subject Property and that Defendants, their agents and assigns, be forever
      27    enjoined from asserting any estate, right, title or interest in the Subject Property.
      28



                                                           18
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       1
                74. Plaintiff desires and is entitled to a judicial declaration that Plaintiff is the owner of the
      2
            Property and that Defendants have no interest in the property adverse to Plaintiff's.
      3
                75. Plaintiff obtained title to the Home on or about August 29, 2002 pursuant to a Grant
      4
            Deed from Jovita Zeppeiro. (Exhibit "B"). This Grant Deed is valid and Plaintiff is only
      5
            disputing the subsequent alterations to this Deed and the October 15, 2002 Deed which serve
      6
            only to cloud title.
      7
                76. Pursuant to this initial and lawful transfer of interest, Plaintiff obtained a loan in the
      8

      9
            amount of $300,700 evidenced by the Note (Exhibit "E"). The Note was intended to be secured

     10     by a Deed of Trust (Exhibit "F") however as further described below, the Deed is void on its

     11     face. Therefore Defendants claim to title is unsecured.

     12         77. While Plaintiff retained possession and interest, he transferred title through a Quitclaim

     13     Deed to Mary and Douglas Zeppeiro on or about October 30, 2002. (Exhibit "G"). Plaintifrs·

     14     113 ownership interest reverted back to him on or about May 18, 2012. (Exhibit "K").
     15         78. Plaintiff is informed and believes that due to the fact that the September 6, 2002 Deed
     16     (.~xhibit "C") was     altered by Defendants prior to delivery to the Plaintiff and without the
     17
            knowledge or consent of the Plaintiff, this renders the Deed null and void ab initio and without
     18
            effect as a matter of law.
     19
                79. Plaintiff is informed and believes that due to the fact that the October 15,2002 Deed
     20
            (Exhibit "D") was altered on its face by Defendants prior to delivery to the Plaintiff and
     21 ·
            without the knowledge or consent of the Plaintiff, this renders the Deed null and void ab initio
     22
            and without effect as a matter of law.
     23
                80. Plaintiff is informed and believes that the Trust Deed recorded on October 24, 2002
     24
            was altered without the knowledge or consent of the Plaintiff. The Trust Deed was altered by.
     25
            attaching a legal description to the document that was not attached at the time of signing, said
     26
            description was erroneous in that it refers to a parcel ofland designated as "Lot 1037" instead
     27

     28



                                                                19
                                           VERIFIED FffiST AMENDED COMPLAINT
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      1
          .   of"Lot 1038" which is the correct description of the property. (E?ffiibit "F"). As a result, the
      2
              Deed is void on its face and the Note is therefore unsecured.
      3
                  81. Plaintiff seeks determination oftitle as of May 18, 2012.
      4
                  82. Plaintiff is informed and believes that Defendant's interest in the Home, if any, is
      5
              unsecured as only the Promissory Note remains valid.
      6
                  83. As a result, Defendants have no right, title, estate, lien or interest in or to the subject
      7
              Property, or any part of portion thereof adverse to Plaintiffs respective interest therein or
      8

              otherwise.
      9

     10
                  84. Based upon current case law, there is no obligation to tender the past amount due in an

     11       action such as this to prevent a sale, as opposed to attempts to unwind a sale. See Silvia-

     12       Pearson v: BAC Home Loans Servicing, LP, No. Cll-01491, 2011 WL 2633406 (finding no
              basis for the tender rule where plaintiff challenges a pending fore~losure). See also Tang v.

     14       Bank ofAmerica, N.A. No. SACV-11-2048 DOC (DTBx), 2012 WL 960373, at *6 (C.D. Cal.
     15       Mar. 19, 2012) ["applying the tender rule to pending foreclosures would prevent any
     16       examination of irregularities in the foreclosure process, thus immunizing even deiiberate
     17       di$regard for statutory requirements"]; Riggins v. Bank ofAmerica, N.A. No. SACV-12-00033
     18
              DOC (MLGx). Therefore, there should pe no bond or tender ordered.
     19
                  85. There is also no obligation to tender where, as here, an exception to the tender rule
     20
              applies. Lona v. Citibank, N.A., 2011 WL 6391584.
     21
                  86. Plaintiff is exempt from the tender requirement because the Trust Deed is void on its
     22
              face.
     23
                  87. Plaintiff is exempt from the tender requirement because his claims constitute a set-off
     24
              against his debt, in that any money paid to the servicer that was not delivered to the true
     25
              creditor would constitute an unjust enrichment by Defendants who unlawfully received
     26
              payment under the void Deed.
     27

     28


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      1
              88. It would be inequitable to require tender where Defendants stand to benefit from their
      2
          own wrong. Tender is inequitable as it would affirm the Trust De~d which is void on its fac.e.
      3

      4
                                     SECOND CAUSE OF ACTION:
                                       BREACH OF CONTRACT
      5                     (AGAINST HOMECOMINGS FINANCIAL and GMAC)

      6       89. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though

      7   fully set forth herein.

      8       90. Plaintiff is informed and believes, and thereon alleges that HOMECOMINGS
      9   FINANCIAL breached the loan agreement by securitizing the loan and bundling it in with other
     10   loans and selling the same as an investment to third party investors, who are not disclosed nor
     11
          otherwise known or knowable to the Plaintiff.
     12
              91. Plaintiff is informed and believes, and thereon alleges that HOMECOMINGS
     13
          FINANCIAL further breached the loan agreement by selling the Plaintiffs loan to third parties

          who are immune to defenses to foreclosure and other contractual rights and remedies that the
     15
          Plaintiff may have against the originator of the loan and would be able to seek redress from
     16
          directly. Selling the Plaintiff's loan as an investment package, also created confusion and
     17
          uncertainty as to who the actual owner of the note is and who if anyone, is able to enforce the
     18
          note, and whether any the actual owner had properly designated and authorized any third party
     19
          to collect and enforce the loan on its/their behalf, and thereby, severely compromised and cut-
     20
          off the Plaintiff's ability to negotiate a loan modification or seek other loan default resolution
     21
          directly with the party with a contractual interest in the loan. The selling off of the Plaintiff's
     22

     23   loan caused a breach of the loan agreement as such selling off to unknown and undisclosed

     24   third parties, adversely affected the Plaintiff' contractual rights. GMAC also breached the

     25   loan agreement, by enforcing a contract on behalf of those without a legal interest in the note as

     26   a security instrument and hold any interest if any, in the note as an investment only. GMAC

     27   knew or should have known that it had no legal right to attempt to collect on a note that had
     28


                                                           21
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-j             1
                   .been converted to an investment and retained no right of enforcement based on such conversion
               2

 I             3
                   by the original   ~ender,   which is now a subsidiary of GMAC.

                       92. Plaintiff is informed and believes, and thereon alleges that as a direct and consequential
               4
                   result of the selling off the loan as an investment product to third party investors, the Plaintiff
               5
                   has been caused to suffer economic damages, mental anguish and trauma, damage to his credit
               6
                   and other consequential and incidental damages proximately caused by the Defendants.
               1

               8
                                                    TIDRD CAUSE OF ACTION:
               9                                 LACK OF STANDING TO FORECLOSE
              10
                                                     (AGAINST GMAC and ETS)

              11
                       93. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though

              12   fully set forth herein.

              13       94. An actual controversy has arisen and now exists between Plaintiff and Defendants

              14   specified hereinabove, regarding their respective rights and duties, in that Plaintiff contends

              15   that Defendants, and each of them, do not have the right to foreclose on the Home because

              16   Defendants, and each of them, have failed to perfect any security interest in the .Home.       Th~s,

              17   the purported power of sale by the above-specified Defendants, and each of them, no longer
              18   applies. Plaintiff further contends that the above specified Defendants, and each of them, do
              19   not have the right to foreclose on the Home because said Defendants, and each of them, did not
              20
                   properly comply with the terms of Defendants' own securitization requirements and falsely or
              21
                   fraudulently prepared documents required for Defendants, and each of them, to foreclose as a
              22
                   calculated and fraudulent business practice.
              23
                      95. Plaintiff is informed and believes and thereon alleges that the only· individual who has
              24
                   standing to foreclose is the holder of the note because they have a beneficial interest. The only:
              25
                   inqividuals who are the holder of the note are the certificate holders of the securitized trust
              26
                   because they are the end users and pay taxes on their interest gains; furthermore, all of the
              27
                   banks in the middle were paid in full.
              28
    i
j
    f
    I                                                               22
    i'                                            VERIFIED FIRST AMENDED COMPLAINT
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      1
              96. Plaintiffs request that this Court find that the purported power of sale contained
      2
          .in the Note and Deed of Trust has no force and effect at this time, because Defendants' actions
      3
          in · the processing, handling and attempted foreclosure of this loan involved numerous
      4
          fraudulent, false, deceptive and misleading practices, including, but not limited to, violations of
      5
          State and Federal laws designed to protect borrowers, which has directly caused Plaintiff to be
      6
          .at.an equitable disadvantage to Defendants, and each of them.
      7
              97. In the instant action, the promissory note was split from the Deed of Trust. The Note
      8
          was transferred to FANNIE MAE, while the Deed of Trust was transferred to GMAC. The
      9

     10
          Note was divided up and sold as certificates to investors; therefore, the only individuals who

     11   can lawfully commence foreclosure on this property are those certificate holders of the ·

     12   securitized trust.

     13       98. Any attempt to transfer the beneficial interest of a trust deed without actual ownership

     14   .of the underlying Note, is void under California law. Therefore, Defendant GMAC cannot
     15   establish that it is entitled to assert a claim in this case. For this reason Defendants, and each of
     16   them, through the actions alleged above, have illegally commenced foreclosure under the Note
     17   on the Property via a non-judicial foreclosure action supported by false or fraudulent
     18
          documents. Said unlawful foreclosure action has clouded the title of the Property, which has
     19
          caused and continues to cause Plaintiff great and irreparable injury in that real property· is
     20
          unique. Therefore Defendants should be enjoined from selling Plaintifrs Property during the
     21
          pendency of this lawsuit.
     22
                                          FOURTH CAUSE OF ACTION:
     23
                                         VIOLATION OF 15 U.S.C. §1641(g)
     24                              (AS AGAINST DEFENDANT FANNIE MAE)

     25       99. Plaintiff re-alleges and incorporate by reference all preceding paragraphs as though

     26   ·fully set f01th herein.
     27        100.        The new subsection (g) added to §131 of TILA by §404 of the Helping

     28   Families Save Their Homes Act of 2009 provides:


                                                           23
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      1             (g) NOTICE OF NEW CREDITOR-
                          (1) In general- In addition to other disclosures required by this subchapter, not
      2                   later than 30 days after the date on which a mortgage loan is sold or otherwise
      3
                          transferred or a~signed to a third party, the creditor that is the new owner or
                          assignee of the debt shall notify the borrower in writing of such transfer,
      4                   including-
                          (A) the identity, address, telephone number of the new creditor;
      5
                          (B) the date of transfer;
      6
                          (~)how to reach an agent or party having authority to act on behalf of the new
                          creditor;
      7                   (D) the location of the place where transfer of ownership of the debt is recorded;
                          and
      8
                          (E) any other relevant information regarding the new creditor.
      9
               Failure to comply with the requirements of this new subsection 131 (g) of TILA may result
     10      . in civil liability for actual damages, legal fees, and statutory damages under §130(a) of
               TILA.
     11
               101.         Plaintiff is informed arid believes, and thereon alleges, that Homecomings
     12
           Financial Network, Inc. was the original lender of the Note.
     13

     14
               102.         Plaintiff is informed and believes, and thereon alleges, that the Note ~aS

     15    purportedly assigned to Fannie Mae.

     16        103.     Plaintiff is informed and believes, and thereon alleges, that Section 131 (g) of TILA

     17    applies to FANNIE MAE as the purported and alleged assignee or owner of the debt.

     18        104.     Plaintiff is informed and believes, and thereon alleges, that Section 131 (g) of TILA

     19    requires FANNIE MAE to perform and comply with the requirements of the statute, otherwise

     20.   face statutory and civil penalties and damages.
     21       · 105.    Section 131 (g) of TILA requires FANNIE MAE and any other creditor to perform
     22    and comply with the requirement of the statue, otherwise face statutory and civil penalties and
     23
           damages.
     24
               106.     FANNIE MAE failed to provide Plaintiff with written notice within 30 days after
     25
           the date on which it was allegedly assigned the mortgage.
     26
               107.     FANNIE MAE failed to provide Plaintiff with written notice indicating the exact
     27
           da~e   of the purported assignment of the interest in his Note, as required by §131(g)(l)(B).
     28



                                                             24
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      1                                      .        '
               108.     Plaintiff did not receive notice indicating how to reach an agent or party having
      2
           authority to act on the new creditor's behalf, as required by § 13l(g)(1)(C).
      3
               109.     Plaintiff did not receive notice indicating the location of the place where the
      '4
           transfer of ownership of the debt is recorded, as required by § 13l(g)(1)(D).
      5
               110.     Plaintiff did not receive notice indicating any other relevant information regarding
      6
           the new creditor, as required by § 131 (g)( I )(E).
      7

               Ill.     Plaintiff did not discover the violation of 15 U.S.C § 1641 until he retained counsel
      8

      9
           and discovered that the Loan had been sold to FANNIE MAE. Plaintiff did not discover that

     10    FANNIE MAE claimed to own the Note until he obtained (\.n audit on the property. He could

     11    not have with reasonable diligence discovered such facts because he did not receive a copy of

     12    the assignment as required by law. Therefore, the statute of limitation on this claim is equitably

     13    tolled.

     14        112.     Thus, FANNIE MAE violated § 13l(g) 15 U.S.C. §1641 and is subject to statutory
     15    damages, civil liability, penalties, attorneys' fees and actual damages pursuant to 15 U.S.C.
     16    § 1640. The actual damages included but are not limited to the over calculation and
     17
           ov~rpayment of interest on Plaintiff's loan, the cost of repairing Plaintiff's credit, costs
     18
           associated with removing the cloud on property title, and attorneys' fees and costs, in an
     19
           amount to be proven at trial.
     20
                                     FIFTH CAUSE OF ACTION:
     21
                     CANCELLATION OF WRITTEN INSTRUMENT [CA CIVIL CODE §34121
     22                            (AGAINST ALL DEFENDANTS)

     23        113.        Plaintiff re-alleges and incorporates by reference paragraphs 19 through 32 and

     24    68 through 79, as though fully set forth herein.

     25        114.        On or about October 11 , 2002, as alleged hereinabove, Plaintiff executed a

     26    series of written instruments, including but not limited to a Note and a Deed.

     27        115.        The Deed of Trust is void and/or voidable for the reasons set forth hereinabove.
     28


                                                              25
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      1
              116.       If left outstanding, the Deed of Trust shall cause serious injury to Plaintiff,
      2
          including but not Limited to damage to ·his credit as well as obligations on a debt not ow~d to
      3
          Defendants.
      4
              117.       Plaintiff is, therefore, entitled to have his Deed of Trust (Exhibit "F") adjudged
      5
          void and/or voidable and cancelled, pursuant to California Civil Code §3412, and the ·debt
      6
          declared unsecured.
      7
              118.       Based upon current case law, there is no obligation to tender the past amount
      8
          due in an action such as this to prevent a sale, as opposed to attempts to unwind a sale. See
      9

     10   Silvia-Pearson v. BAC Home Loans Servicing, LP, No. Cl1-01491, 2011 WL 2633406

     11   (finding no basis for the tender rule where plaintiff challenges a pending foreclosure). See also

     12   Tang v. Bank ofAmerica, NA. No. SACV-11-2048 DOC (DTBx), 2012 WL 960373, at *6

     13   (C.D. Cal. ~ar. 19, 2012) ["applying the tender rule to pending foredosures would prevent any

     14   examination of irregularities in the foreclosure process, thus immunizing even deliberate
     15   disregard for statutory requirements"]; Riggins v. Bank ofAmerica, NA. No. SACV-12-00033
     16   DOC (MLGx). Therefore, there should be no bond or tender ord~red.
     i7       119.       There is also no obligation to tender where, as here, an exception to the tender
     18
          rule applies. Lana v. Citibank, NA., 2011 WL 6391584.
     19
              120.       Plaintiff is exempt from the tender requirement because the Trust Deed is void
     20
          on its face.
     21
              121.       Plaintiff is exempt from the tender requirement because his claims constitute a
     22
          set-off against his debt, in that any money paid to the servicer that was not delivered to the true
     23
          creditor would constitute an unjust enrichment by Defendants who unlawfully received
     24
          payment under the void Deed.
     25
              122.       It would be inequitable to require tender where Defendants stand to benefit from
     26                                                                                                         .·
          their own wrong. Tender is inequitable as it would affirm the Trust Deed which is void on its
     27

     28
          face.


                                                           26
                                      VERIFIED FIRST AMENDED COMPLAINT
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            1                         SIXTH CAUSE OF ACTION:
                     UNFAIR BUSINESS PRACTICES IN VIOLATION OF CA BUSINESS &
            2
                 PROFESSIONS CODE §17200 ET SEQ AND CA PENAL CODE §§115.5 & 532(f)(a)(4)
            3                       (AGAINST ALL DEFENDANTS)

            4       123.         Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

            5   though fully set forth herein.

            6       124. Plaintiff is informed and believe, and thereon alleges, that Defendants,

            7   and each of $em, engaged in unlawful, unfair or fraudulent business acts or practices and

            a   unfair, deceptive, untx:ue or misleading advertising in violation, rising to unfair and deceptive

            9   business practices, in violation of California Business and Professions Code § 17~00 and the
          10    Unfair and Deceptive Acts and Practices statutes.
          11
                    125.         The above specified Defendants, and each of them, as part. of their business
          12
                practices, fraudulently   ~nd    knowingly procured or offered false or fraudulently prepared
          13
                do~uments    to fabricate the missing gaps in the chain of title or to falsely demonstrate
          14
                compliance with the PSA, California Codes and Regulations related to non-judicial foreclosure
          15
                and allowed these.documents to be filed, registered, or recorded in California in violation of
          16
                California Penal Code §115.5. The members of the public are likely to be deceived by this
          17
                unlawful, oppressive and fraudulent business practices.
          18
                   126.     Plaintiff alleges .that Defendants, and each of them, cannot establish proper transfer
          19
                and/or endorsement of the Promissory Note and proper assignment of the Deed of Trust;
         . 20
                therefore, none of the Defendants have perfected any claim of title or security interest in the
          21

          22
                Home. Defendants, and each of them, do not have the ability to establish that the mortgages

          23    that secured the indebtedness, or Note, were legally or properly acquired. Defendants do not

          24'   have the right to foreclose on the Home and the purported power of sale by the Defendants, and

          25    ea~h of them,   does not apply; therefore, their attempts to foreclose are unlawful.

          26       127.     Plaintiff is informed and believes and thereon alleges that after the origination and
II        27    funding of his Loan, it was sold or transferred to investors of the SERIES 1 TRUST. FANNIE
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!
i         28    MAE never recorded its claim of ownership in the Home prior to the Closing Date of the Trust.
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I                                                                27
I                                            VERIFIED FIRST AMENDED COMPLAINT

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           1
                FANNIE MAE also failed to disclose its <;>wnership interest in the Home in violation of 15 USC
           2
                1641(g).
           3
                    128.   Plaintiff is informed and believes, and therefore alleges that Defendant GMAC is
           4
                the entity which is attempting to exercise the power of sale within the DOT. GMAC could not
           5
                have obtained any interest in the Deed pursuant to an assignment from MERS because the loan
           6
                was sold to investors ten years prior. MERS does not purport to act on behalf of said investors
           7
                but rather acts on behalf of the original lender who sold its interest ten years prior. Therefore,
           8

           9
                ·on information and belief, at the time Defendants commenced foreclosure proceedings, they

          10·   had no legal or equitable interest in the Note and DOT.

          11        129.   Defendants falsely represented to Plaintiff that GMAC was the creditor of his Loan.

          12    Later, they falsely represented that GMAC owned his Loan. It is unclear to Plaintiff on whose

          13    behalf GMAC collected payments.

          14        130.   Plaintiff is informed and believes and thereon alleges that ifGMAC is the lawful
          15    creditor and owner of his loan, then GMAC is in violation of 15 USC 1641 (g) as it failed to
          16    comply with the disclosure requirements under that statute.
          17        i31.       Plaintiff is informed and believe, and thereon alleges that Defendant
          18
                MERS at all relevant times had knowledge that its interest in the Deed was invalid yet MERS
          19
                still caused to be recorded the false documents with the county recorder in violation of
          20
                California Penal Code §115.5(a). Further, the assigrunent recorded is signed by an individual
          21
                purporting to be the "Assistant Secretary" of MERS. Plaintiff believes and thereupon alleges
          22
                that this individual did not have the authority or capacity to sign on behalf of MERS to cause
          23
                such substitutions or assigninents. As such, Plaintiff is informed and believes, and thereon
          24
                alleges that certain misrepresentations, including sworn statements, were made to the notary
          25
                public to cause the notary public to perform an improper notorial act on a document in violation
          26
i               of California Penal Code §115.5(b).
          27
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                                           VERIFIED FIRST AMENDED COMPLAINT
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          1
                   132.       In addition, as specified hereinabov~, Defendants altered the Trust Deed without
          2
               the knowledge or consent of the Plaintiff or of the Notary. Defendants not only altered the legal
          3.
               description of the Property, they changed the date of the Grant Deed and forged the initials of ·
          4
               the' Notary. The Deed of Trust in this case gives the appearance of being a certified copy of the
          5
               original recorded Deed. However, the purported certification of the Deed is defective; it states
          6
               only· "I hereby certify that this is a true and exact copy of the Original."
          7
                   133.       Defendant ETS recorded the Notice of Default on April28, 2010. In the NOD,
          8

         ·g    MERS purports to be the Beneficiary under Plaintiffs Deed of Trust. As of that date, MERS

         10    had no interest in the Deed of Trust.

         11
                   134.        On February 9, 2012, MERS recorded the Assignment of the Deed which

I        12    purports to assign all beneficial interest to GMAC Mortgage. This Assignment is created to fill
                                .             .
~        13    gaps in-the chain of title and an effort by Defendants to conceal FANNIE MAE as the creditor.
I        14    The recording of the belated and misleading Assignment constitutes an unlawful business

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1
I
         15    practice.
         16       ' l35.       On March 1, 2b12, Defendant ETS recorded another Notice of Default in which
l        17




i
               GMAC appears to be the Beneficiary. Because the Assignment to GMAC is invalid, the notice
         18
               constitutes a misrepresentation of GMAC's interest in the loan.
         19
!
I
                   136.        The business practices of the above specified Defendants, and each of them,
i
I        20
               were unlawful, deceptive, misleading and fraudulent and violate California law as alleged
I        21
               'herein above. Further, the above-specified Defendants; and each of them, knew that their
         22
               business practices were unlawful, deceptive, misleading and fraudulent at the time they were so
         23
               engaged.
         24
                   137.        Plaintiff is Informed and believe, and thereon alleges, that Defendants
         25
               knowingly recorded fraudulent documents with the Ventura County Recorder's Office with the
         26
               intent to defraud Plaintiff in violation of CA P~nal Code §532(f)(a)(4) and to institute wrongful
         27
               foreclosure proceedings against their Home.
         28


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       1
               13 8.         Pursuant to Sections 17200 et seq. of the _California Business and Professions
      2
           Code, unfair business practices include any unlawful, unfair, misleading or fraudulent business
      3
           practice. The fraudulent and unlawful conduct of the above specified Defendants, and each of
       4
           them, as alleged herein, constituted unlawful, 1,1nfair and/or fraudulent business practices within
      5
           the ·provisions of §§17200 et seq of the California Business and Professions Code.
      6
               139.          As a direct and proximate result of the unfair business practices of the above
      7
           specified Defendants, and each of them, as herein alleged, Plaintiff has incurred damages in
      8
           that the Plaintiffs Home is now subject to foreclosure at the hands of the above specified
      9

     10
           Defendants, and each of them, all by reason of which Plaintiff has been damaged in at least the

    · 11   sum of the jurisdictional amount of this Court, plus interest, attorney's fees and costs, and

     12    additional amounts, according to proof at the time of trial.

     13        140.          As a further direct and proximate result_of the unfair business practices of the

     14    above specified Defendants,·and each _of them, Plaintiff is entitled to an order or preliminary
     15    injunction prohibiting said Defendants, and each of them, from selling or attempting to sell, or
     16    causing to be sold, any interest whatsoever in the Home.
     17                                                JURY DEMAND
     18
               141.          Plaintiff requests a jury for all triable issues.
     19
                                                   PRAYER FOR RELIEF
     20
                     WHEREFORE Plaintiff, will ask for the following for each Cause of Action to be
     21
           awarded:
     22
                1.      For Compensatory, Special and General Damages in an amount to be determined by
     23
           proof ~t trial;
     24
                2.      For Punitive Damages in an amount to be determined by the Court;
     25
                3.      For Restitution as·allowed by law;
     26

     27
                4.      For Attomey'' s Fees and Costs of this action;

     28


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      1
              5.        For Declaratory Relief, including but not limited to the following Decrees of this
      2
          Court that:
      3
                        a. Plaintiff is the prevailing party;
      4
                        b. All Grant Deeds altered by Defendants to be declared void due to the alteration
      5
                            and revisions of the Deeds without the consent or knowledge of the Plaintiff;
      6
                        c. Defendants have no enforceable secured or unsecured claim against the Home;
      7
                        d. No other party, whethe~ known or unknown, has an enforceable secured or
      8

      9
                            unsecured claim against the Home;

     10       6.        For Injunctive Relief including but not limited to;

     11                 a. Preliminary and Permanent Injunction enjoining any and all Trustee Sales which

     12                     may be scheduled by the Defendants herein;

     13                 b. An Order prohibiting Defendants, and each of them, from filing an unlawful

     14                     detainer action or any other action against the Plaintiff;
     15       7.        For Quiet Title against all Defendants whereby legal title and possession of the
     16   Property is transferred to the Plaintiff;
     17
              8.        For Cancellation of the DEED OF TRUST pursuant to California Civil Code §3412
     18
          herein;
     19
              9.        For any prejudgment or other interest according to law;
     20
               10.      For civil penalties pursuant to statute, restitution, and injunctive relief;
     21
               11.      Any other and further relief that the Court considers just and proper.
     22

     23
          DATED: October25, 2012                                LAW OFFICES OF P
     24

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      1
                                          CERTIFICATE OF SERVICE
      2
                 I am e.r_nployed in the county ofLos Angeles, State of California I am over the age of
      3
          18 and not a party to the wi.thin action; my business address is: 73 9 E. Walnut St., Suite 204,
      4
          Pasadena, CA 911 01.
      5
                 I hereby certify that on this 25th day of October 2012, I electronically filed the
      6
          foregoing document with the Clerk of the Court using CMIECF. I also certify that the foregoing
      7
          document is being served this day on all counsel of record either via transmission of Notices of
      8
          Electronic Filing generated by CMIECF or by mail to those counsel or parties who are not
      9
          authorized to receive electronic Notices of Electronic Filing.
     10

     11
                 Executed this 25th day of October 2012 und~. ~
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                                      VERIFIED FIRST AMENDED COMPLAINT
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                                 Exhibit J
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 12-5357 ABC (RZx)                                            Date   February 13, 2013
 Title             Peter Zeppeiro v. GMAC Mortgage, LLC, et al.



 Present: The                    Audrey B. Collins, United States District Judge
 Honorable
                Angela Bridges                              None Present                          N/A
                 Deputy Clerk                         Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                         None Present
 Proceedings:                 ORDER GRANTING Motion to Dismiss (In Chambers)

        Pending before the Court is Defendants Federal National Mortgage Association (“Fannie Mae”)
and Mortgage Electronic Registration Systems, Inc.’s (“MERS”) (together “Defendants’”) Motion to
Dismiss First Amended Complaint (“FAC”), filed on November 13, 2012. (Docket No. 18.) Plaintiff
Peter Zeppeiro opposed on November 26, 2012 and Defendants replied on December 3, 2012. The
Court previously found this matter appropriate for resolution without oral argument and vacated the
hearing date. (Docket No. 24.) For the reasons below, the Court GRANTS the motion and DISMISSES
the claims against MERS and Fannie Mae WITH PREJUDICE.

                                                    BACKGROUND

        Like many distressed homeowners, Plaintiff has filed this case to stave off foreclosure of his
home after he failed to pay his mortgage. In his original complaint, Plaintiff asserted a host of claims to
stop the foreclosure sale and obtain damages: (1) quiet title (against all Defendants); (2) breach of
contract (against Homecomings Financial LLC and GMAC Mortgage LLC (“GMAC”)); (3) lack of
standing to foreclose (against GMAC, Executive Trustee Services LLC (“ETS”), and MERS); (4)
violation of California Civil Code section 2932.5 (against GMAC and MERS); (5) violation of the Truth
in Lending Act (“TILA”), 15 U.S.C. § 1641(g) (against Fannie Mae); (6) cancellation of written
instrument under California Civil Code section 3412 (against all Defendants); (7) violation of California
Business and Professions Code section 17200 (against all Defendants); and (8) intentional infliction of
emotional distress (against all Defendants). MERS and Fannie Mae moved to dismiss the claims against
them (which amounted to all but the breach of contract claim).1 The Court granted the motion, and
dismissed some claims with prejudice and granted leave to amend others. (Docket No. 16.)2

         1
         Defendants GMAC, Homecomings Financial LLC, and ETS filed a Notice of Bankruptcy on
August 30, 2012, which stayed all proceedings against them, so the Court did not decide any issues
related to those Defendants. The petition remains pending so the Court again does not address any
issues related to those Defendants.
         2
        To the extent Plaintiff has attempted to replead claims that were dismissed with prejudice, they
are barred and the Court will not address them again.
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                             UNITED STATES DISTRICT COURT
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         Plaintiff filed the FAC on October 26, 2012, in response to the Court’s Order. The factual
underpinning of the FAC remains unchanged. On March 16, 1995, Jovita Zeppeiro obtained title to the
property at issue as a “married woman as her sole and separate property.” (FAC ¶ 19.) On September
6, 2002, she conveyed title to Plaintiff as “a married man as his sole and separate property” in a Grant
Deed that Plaintiff had notarized. (Id. ¶ 20.) Plaintiff alleges that he was told by Homecomings
Financial that this Grant Deed had to be revised, so on October 15, 2002, it presented Plaintiff with a
new draft deed that conveyed title from “Jovita Zeppeiro and Peter Zeppeiro, wife and husband as Joint
Tenants” to “Peter Zeppeiro, a married man as his sole and separate property,” although Plaintiff alleges
that title was never vested as joint tenants. (Id. ¶¶ 21–22, Ex. D.)

       The Deed of Trust was dated October 11, 2002 and recorded on October 24, 2002. (Id. ¶ 23, Ex.
F.) Plaintiff alleges that the Deed of Trust did not initially contain a legal description of the property
and that, at some point after it was signed, Defendants added a legal description without his knowledge,
and that description identified the wrong property. (Id. ¶¶ 23–24.) Plaintiff claims he did not know
about this alteration, although he signed the Deed of Trust, which indicated that the legal description
was attached. (Id. ¶ 24.)

        Plaintiff alleges that the Grant Deed was altered when it was delivered to escrow to reflect a
notarization date of October 11, 2002 when it was notarized on October 15; Plaintiff claims this was
done to make the Grant Deed predate the Deed of Trust, dated October 11. (Id. ¶ 25.) Plaintiff claims
that the notary’s initials on the Grant Deed confirming the date change were forged based on a 2005
declaration and a 2005 letter from the notary. (Id. ¶ 25, Exs. L, M.) Plaintiff further alleges that at some
point after the Grant Deed was recorded, the Grant Deed was altered to strike out “Peter Zeppeiro, a
Married Man as His Sole and Separate Property” and was replaced with “Jovita Zeppeiro and Peter
Zeppeiro, wife and husband as Joint Tenants.” (Id. ¶ 27.) That altered Grant Deed was then recorded
on November 12, 2002, three weeks after escrow closed. (Id. ¶ 28.)

        Homecomings Financial was listed as the original lender, with American Title as the original
trustee and MERS as the original beneficiary and nominee under the Deed of Trust. (Id. ¶ 31.) Like
many residential loans, Plaintiff’s note was transferred to Fannie Mae for placement in a securitized
trust pursuant to a “Pooling and Servicing Agreement” (“PSA”), and Plaintiff alleges various flaws in
that process allegedly rendering the transfer of his deed of trust invalid. (Id. ¶¶ 34–68.)

        On April 28, 2010, MERS recorded a substitution of trustee for ETS. (Id., Ex. I.) On the same
date, ETS recorded a Notice of Default and Election to Sell. (Id., Ex. H.) And on July 30, 2010, ETS
recorded a Notice of Trustee’s Sale set for August 26, 2010. (Id., Ex. J.) The sale did not go forward on
that date.

         On February 2, 2012, MERS assigned the Deed of Trust to GMAC (Def. Request for Judicial



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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

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Notice (“RJN”)3, Ex. 3); on February 16, 2012, GMAC named ETS as trustee (id., Ex. 4); and on March
1, 2012, a Notice of Default was recorded against the property (id., Ex. 5). All of these documents were
recorded. On July 5, 2012, Plaintiff recorded a Notice of Pendency of Action against the property in
light of this case. (Id., Ex. 6.) As of the date of the pending motion, the property has not been sold.

       As new allegations in the FAC, Plaintiff claims that he executed a Quitclaim Deed to Mary and
Douglas Zeppeiro, which was recorded on October 30, 2002. (FAC, Ex. G.) Then, on May 17, 2012,
Mary and Douglas Zeppeiro executed a Quitclaim Deed, granting Plaintiff a one-third interest in the
property. (Id., Ex. K.)

        Based on these facts, Plaintiff realleges the following claims in the FAC: (1) quiet title (against
all Defendants); (2) breach of contract (against Homecomings Financial and GMAC); (3) lack of
standing to foreclose (against GMAC and ETS); (4) violation of TILA, 15 U.S.C. § 1641(g) (against
Fannie Mae); (5) cancellation of written instrument under California Civil Code section 3412 (against
all Defendants); and (6) violation of California Business and Professions Code section 17200 (against all
Defendants). Fannie Mae and MERS have again moved to dismiss the claims brought against them.4

                                         LEGAL STANDARD

        A complaint survives a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) if it
contains a “short and plain statement of the claim showing that the pleader is entitled to relief,” which
does not require “detailed factual allegations,” but it “demands more than an unadorned, the-defendant-
unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 677–78 (2009). A claim must be
“plausible on its face,” which means that the Court can “draw the reasonable inference that the
defendant is liable for the misconduct alleged.” Id.; see Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
(2007). In other words, “a plaintiff’s obligation to provide the grounds of his entitlement to relief
requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of action
will not do.” Twombly, 550 U.S. at 555 (internal quotations and alterations omitted). Allegations of
fact are taken as true and construed in the light most favorable to the nonmoving party. See Newdow v.
Lefevre, 598 F.3d 638, 642 (9th Cir. 2010).

        In analyzing the sufficiency of the complaint, the Court must first look at the requirements of the
causes of action alleged. See Iqbal, 556 U.S. at 675. The Court may then identify and disregard any
legal conclusions, which are not subject to the requirement that the Court must accept as true all of the
allegations contained in the complaint. Id. at 678. The Court must then decide whether well-pleaded
factual allegations, when assumed true, “plausibly give rise to an entitlement to relief.” Id. at 679. In


         3
          The Court GRANTS Defendants’ unopposed Request for Judicial Notice. See Fed. R. Civ. P.
201.
         4
       Because Plaintiff’s breach of contract and lack of standing claims were not brought against
Fannie Mae or MERS, the Court does not address them herein.
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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

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doing so, the Court may not consider material beyond the pleadings, but may consider judicially
noticeable documents, documents attached to the complaint, or documents to which the complaint refers
extensively or which form the basis of the plaintiff’s claims in the complaint. See United States v.
Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).

                                              DISCUSSION

         A.      Quiet Title

         As the Court previously explained, under California Civil Code section 760.020(a), a party may
seek to establish title in a property as against adverse claims, so long as the Complaint is verified and
sets out certain information required by statute. See § 761.020. However, in order for a mortgagor to
quiet title against a mortgagee, the mortgagor must pay the amount he or she owes on the debt. See
Hamilton v. Bank of Blue Valley, 746 F. Supp. 2d 1160, 1170 (E.D. Cal. 2010). There are four
exceptions to this “tender” requirement: (1) the action attacks the validity of the underlying debt; (2) the
mortgagor has a counter-claim or setoff against the mortgagee; (3) requiring tender would be
inequitable; and (4) the trustee’s deed is void on its face. Lona v. Citibank, N.A., 202 Cal. App. 4th 89,
112–13 (2011).

        Plaintiff attempts to invoke the “void” exception by arguing that he is entitled to quiet title
because the September 6 and October 15 Grant Deeds and the October 24 Deed of Trust were altered
without his knowledge, rendering them void. But that does not render the underlying Deed of Trust
void; rather, even if he succeeded on this claim, he would still owe the balance on his mortgage once
title was settled, which he does not dispute. See Manantan v. Nat’l City Mortg., No. C-11-00216 CW,
2011 WL 3267706, at *5 (N.D. Cal. July 28, 2011) (requiring tender on quiet title claim based on
alleged fraud in loan transaction because the “alleged fraud may void the transaction between Plaintiff
and Defendants, but it would not allow Plaintiff to gain quiet title and keep the money she borrowed.”).
These facts once again do not state an exception to the tender rule and this claim must be dismissed.

         B.      TILA, 15 U.S.C. § 1641(g)

        Plaintiff again alleges that Fannie Mae violated § 1641(g) of TILA because his loan was
transferred at some point to Fannie Mae, but Fannie Mae did not notify him of the transfer within 30
days as required by § 1641(g). This claim still fails because Plaintiff has not alleged when the transfer
occurred or why Fannie Mae is even subject to § 1641(g), especially given that Plaintiff also alleges that
any transfer to Fannie Mae was invalid. (FAC ¶ 37.) Moreover, Plaintiff has not alleged that he
detrimentally relied on any failure to disclose the transfer. See Derusseau v. Bank of Am., N.A., No. 11
CV 1766 MMA (JMA), 2012 WL 1059928, at *4 (S.D. Cal. Mar. 28, 2012) (dismissing similar
allegations for failing to identify the date of the transfer or that plaintiff detrimentally relied on the
failure to disclose). This claim must be dismissed.

         C.      Cancellation of Written Instrument, Cal. Civ. Code § 3412
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        Plaintiff again seeks cancellation of his Deed of Trust pursuant to California Civil Code section
3412. Cancellation here is subject to the tender requirement, see Fleming v. Kagan, 189 Cal. App. 2d
791, 796 (1961), and Plaintiff has not alleged that he can tender the amount outstanding on his loan or
that a valid exception applies.

        Moreover, a cancellation claim is subject to a five-year statute of limitations. See Robertson v.
Super. Ct., 90 Cal. App. 4th 1319, 1328 (2001). As alleged in the FAC, Plaintiff signed the Deed of
Trust in October 2002, so his cancellation claim expired in October 2007.

        Plaintiff seems to suggest that the statute of limitations should be tolled because he did not
discover his injury until later. “‘A plaintiff whose complaint shows on its face that his claim would be
barred without the benefit of the discovery rule must specifically plead facts to show (1) the time and
manner of discovery and (2) the inability to have made earlier discovery despite reasonable diligence.
The burden is on the plaintiff to show diligence, and conclusory allegations will not withstand
demurrer.’” E-Fab, Inc. v. Accountants, Inc. Servs., 153 Cal. App. 4th 1308, 1319 (2007) (emphasis in
original). Plaintiff alleges no facts to suggest that the discovery rule applies to his claim; indeed, he
does not even acknowledge the delay in the FAC, despite the Court raising the issue on the prior motion
to dismiss. To the contrary, Plaintiff likely knew about the alleged fraud as far back as 2005 in light of
the June 2005 letter to Plaintiff’s father from the notary who claimed that there were several problems
with the 2002 Grant Deed. On that basis, the five-year statute of limitations expired in 2010, but
Plaintiff did not file this lawsuit until June 2012. This claim must therefore be dismissed.

         D.      Bus. & Prof. Code § 17200

        Plaintiff’s section 17200 claim is based on the same allegations as in his original Complaint
regarding flaws in the securitization process. (FAC ¶¶ 125–37.) The Court need not delve into
Plaintiff’s factual allegations a second time because they fail to state a violation of section 17200 for the
reasons the Court explained in the Order dismissing Plaintiff’s original complaint. See, e.g., Lane v.
Vitek Real Estate Indus. Group, 713 F. Supp. 2d 1092, 1099 (E.D. Cal. 2010) (rejecting argument that
securitization deprives MERS and trustees of authority to foreclose on the Deed of Trust).5



         5
         The Court previously dismissed this claim with prejudice to the extent that it was based on
fraudulent alterations to the Grant Deed and Deed of Trust in 2002 because that claim was barred by a
four-year statute of limitations. Cal. Bus. & Prof. Code § 17208. The Court found that the discovery
rule did not apply to section 17200, citing Snapp & Associates Insurance Services, Inc. v. Malcolm
Bruce Burlingame Robertson, 96 Cal. App. 4th 884, 891 (2002). The California Supreme Court
subsequently disapproved of Snapp, holding that common law limitations rules, including the discovery
rule, apply to section 17200 claims. Aryeh v. Canon Bus. Solutions, Inc., 55 Cal. 4th 1185 (2013). In
any case, Plaintiff has not alleged any facts that would support tolling the limitations period. Rather, as
noted above, the FAC makes clear that Plaintiff likely knew about any alleged fraud by 2005, so his
claim is untimely even if measured from 2005.
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 12-5357 ABC (RZx)                                          Date   February 13, 2013
 Title          Peter Zeppeiro v. GMAC Mortgage, LLC, et al.

                                            CONCLUSION

       The Court GRANTS Defendants’ motion and DISMISSES all Plaintiff’s claims brought against
MERS and Fannie Mae WITH PREJUDICE because Plaintiff has already had an opportunity to amend.
See Cafasso v. Gen. Dynamics C4 Sys., 637 F.3d 1047, 1058 (9th Cir. 2011).

         IT IS SO ORDERED.

                                                                                             :
                                                       Initials of Preparer             AB




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